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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff,           )
            v.                             )
                                           )     Cause No. 2:24-cv-260
$35,990.00 in United States Currency,      )
                                           )
                      Defendant.           )


                        VERIFIED COMPLAINT IN REM

      Comes now, United States of America (“United States”), the plaintiff

herein, by its attorney, Clifford D. Johnson, United States Attorney for the

Northern District of Indiana, through Madison Lo Dolce, Assistant United

States Attorney, and brings this Verified Complaint in Rem, in accordance

with Supplemental Rule G(2) of the Federal Rules of Civil Procedure, and

alleges as follows:

                             NATURE OF THE ACTION

      1.    This is an action to forfeit and condemn to the use and benefit of

   the United States of America, pursuant to 21 U.S.C. ' 881(a)(6), United

   States currency (“USC”) in the amount $35,990.00 (hereinafter referred to

   as "Defendant Property@), for violations of 21 U.S.C. ' 841.
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                           THE DEFENDANT IN REM

      2.      The Defendant property was seized on December 19, 2023, from

   Arturo Saucedo-Saucedo in Michigan City, Laporte County, Indiana. The

   Defendant property is currently in the custody of the United States of

   America’s Drug Enforcement Administration (“DEA”) in Merrillville,

   Indiana.

                          JURISDICTION AND VENUE

      3.      The United States brings this action in rem in its own right to

   forfeit and condemn the Defendant Property. This Court has jurisdiction

   over an action commenced by the United States under 28 U.S.C. ' 1345, and

   over an action for forfeiture under 28 U.S.C. ' 1355(a).

      4.      This Court has both in rem and subject matter jurisdiction over

   the Defendant Property under 28 U.S.C. ' 1355(b).

      5.      Venue is proper in this district pursuant to 28 U.S.C. ' 1395(b),

   because the Defendant Property was found within this district.

                            BASIS FOR FORFEITURE

      6.      The Defendant Property is subject to forfeiture pursuant to

   21 U.S.C. ' 881(a)(6), because it constitutes money furnished or intended to

   be furnished in exchange for a controlled substance in violation of the

   Controlled Substances Act.

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                                       FACTS

      7.      On December 19, 2023, at approximately 12:20 p.m., a law

   enforcement officer conducted a traffic stop for a traffic violation on

   Interstate 94 near mile marker 35 in Michigan City, Laporte County,

   Indiana. The vehicle was driven by Arturo Saucedo-Saucedo (“Saucedo”).

   An additional occupant, Ricardo Soto (“Soto”), was riding as a passenger in

   the vehicle.

      8.      The officer informed Saucedo of the reason for the stop and

   explained that he would be issuing a warning for the traffic violation. The

   officer asked Saucedo to accompany him to his patrol car while he checked

   Saucedo’s license and registration.

      9.      In   response   to   questioning,   Saucedo     gave    contradictory

   information regarding the purpose of his travels. When asked whether there

   was any illegal contraband in the vehicle, including narcotics, guns, or USC,

   Saucedo denied the existence of such. Saucedo also denied the officer’s

   request to conduct a consent search of the vehicle.

      10.     A canine was then employed to conduct a free air sniff of the

   vehicle.    The canine displayed a positive indication to narcotic odor

   emanating from the vehicle.

      11.     As a result, the officer conducted a probable cause search of the

   vehicle. During the search, the officer located, and seized, a multi-colored

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   lunch box under the driver’s seat which contained a large number of rubber-

   banded bundles of USC. The USC was later counted and found to total

   $35,990.00.

      12.   After being advised of their Miranda Rights, both Saucedo and

   Soto denied ownership of the USC. Rather, Saucedo stated that it belonged

   to his parents.

      13.   Thereafter, Saucedo consented to law enforcement searching his

   cell phone. The search uncovered photos and videos depicting large amounts

   of marijuana and plastic baggies containing marijuana, consistent with the

   way in which street-level marijuana dealers package marijuana. The officer

   seized the phone in anticipation of receiving a search warrant for further

   analysis of the phone.

      14.   Saucedo and Soto were released from the scene with no charges.

      15.   On January 16, 2024, a federal magistrate judge in the Northern

   District of Indiana issued a search warrant for the phone. Thereafter,

   further analysis of the phone was conducted which revealed messages sent

   by Saucedo admitting to selling marijuana and marijuana products. Other

   messages on the phone, involving Saucedo, were found to be advertising

   bulk marijuana.

      16.   A turnover order was obtained on January 4, 2024, transferring

   the property to federal custody.

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      WHEREFORE, the plaintiff requests that the Defendant Property be

forfeited and condemned to the United States of America; that Warrant of

Arrest In Rem be issued for the Defendant Property; that the plaintiff be

awarded its costs and disbursements in this action; and for such other relief

this court deems proper and just.

                                    Respectfully submitted,

                                    CLIFFORD D. JOHNSON
                                    UNITED STATES ATTORNEY


                             By:    /S/ Madison Lo Dolce
                                    Madison Lo Dolce
                                    Assistant U.S. Attorney
                                    5400 Federal Plaza, Suite 1500
                                    Hammond, Indiana 46320
                                    (219)937-5515; fax: (219) 937-5550
                                    email:madison.lodolce@usdoj.gov




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                                Verification

      I, Timothy R. Dernulc, hereby verify and declare under penalty of perjury

that I am a Task Force Officer with the Drug Enforcement Administration in

Merrillville, Indiana, that I have read the foregoing Verified Complaint for

Civil Forfeiture in rem and know the contents thereof, and that the factual

matters contained in paragraphs 7 through 16 of the Verified Complaint are

true to my own knowledge.

      The sources of my knowledge and information are the official files and

records of the United States, information supplied to me by other law

enforcement officers, as well as my investigation of this case, together with

others, as a Task Force Officer with the Drug Enforcement Administration.

      I hereby verify and declare under penalty of perjury that the foregoing is

true and correct.



Date: 7/23/2024                     /s/ Timothy R. Dernulc
                                    Timothy R. Dernulc
                                    Task Force Officer
                                    Drug Enforcement Administration




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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 26, 2024, the attorney for the Defendant

filed the Verified Complaint in Rem. I further certify that on July 26, 2024, a

copy of this document was sent by first-class certified mail to pro se Plaintiff,

a non-CM/ECF participant:

Arturo Saucedo
331 First Avenue
Pontiac, MI 48340

                                             /s/ Madison Lo Dolce
                                             MADISON LO DOLCE
                                             Assistant U.S. Attorney




U.S. Attorney's Office
Northern District of Indiana
5400 Federal Plaza, Suite 1500
Hammond, IN 46320




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